Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 1 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 2 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 3 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 4 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 5 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 6 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 7 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 8 of 19
Case 20-08067-JMM   Doc 16    Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document     Page 9 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 10 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 11 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 12 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 13 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 14 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 15 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 16 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 17 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 18 of 19
Case 20-08067-JMM   Doc 16     Filed 03/08/21 Entered 03/08/21 10:07:44   Desc Main
                             Document      Page 19 of 19
